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                       UNITED STATES DISTRICT COURT
                                  FOR THE
                            DISTRICT OF VERMONT

UNITED STATES OF AMERICA             :
                                     :
             v.                      :      Case No. 2:13-cr-165
                                     :
BRETT LAWTON, DEVIN MESSIER,         :
and TOM ARBUCKLE,                    :
                                     :
             Defendants.             :

                              OPINION AND ORDER

     Defendants Brett Lawton, Devin Messier, and Tom Arbuckle are

charged with distributing alpha-PVP (“a-PVP”), a schedule I

controlled substance analogue, in violation of 21 U.S.C. §§ 813,

841(a)(1), and 846 (“the Analogue Act”).            Defendants have filed a

joint motion to dismiss the indictment, arguing that the cited

portions of the Analogue Act are unconstitutionally vague as

applied to the facts of this case.          Specifically, defendants

contend that the law did not provide them fair warning of

potential prosecution for distributing a-PVP as an analogue of

MDPV.     Defendants have also moved in limine to exclude expert

testimony with respect to the alleged similarities between a-PVP

and MDPV.

     For the reasons set forth below, defendants’ motions are

denied.

I.   Defendants’ Joint Motion to Dismiss

     A.      The Analogue Act

     Defendants are charged with conspiring to distribute a-PVP

(alpha-Pyrrolidinovalerophenone), which is allegedly an analogue
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to MDVP (3,4-methylenedioxyprovalerone).         MDVP is a schedule I

controlled substance.      Federal drug law defines an analogue as a

substance:

     (i) the chemical structure of which is substantially
     similar to the chemical structure of a controlled
     substance in schedule I or II;

     (ii) which has a stimulant, depressant, or
     hallucinogenic effect on the central nervous system
     that is substantially similar to or greater than the
     stimulant, depressant, or hallucinogenic effect on the
     central nervous system of a controlled substance in
     schedule I or II; or

     (iii) with respect to a particular person, which such
     person represents or intends to have a stimulant,
     depressant, or hallucinogenic effect on the central
     nervous system that is substantially similar to or
     greater than the stimulant, depressant or
     hallucinogenic effect on the central nervous system of
     a controlled substance in schedule I or II.

21 U.S.C. § 802(32)(A).     The Second Circuit has determined that

these provisions should be read in the conjunctive:

     According to the conjunctive reading, the definition
     requires two things: first, (i) that the substance be
     chemically similar and, second, (ii) that it have a
     similar or greater psychopharmacological effect or
     (iii) that it be intended to have or be represented as
     having such an effect.

United States v. Roberts, 363 F.3d 118, 120 (2d Cir. 2004).

     Defendants contend that a-PVP and MDVP are not analogous.

In support, they have submitted two expert reports highlighting

the differences between the substances.         Based upon these

reports, defendants argue that the Analogue Act failed to provide

them fair notice of likely prosecution, thereby violating their


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rights under the Fifth Amendment.           The government’s experts

contend that the two substances are substantially similar with

regard to both their chemical makeup and their psycho-

pharmacological effects.

     B.      Comparing a-PVP with MDPV

     According to government expert Thomas DiBerardino, Ph.D.,1

a-PVP and MDPV share the same chemical structure, known as

phenethylamine.       Both substances also have an oxygen atom

substituted at the same position of their core chemical

structures, meaning that they can each be classified as beta-

keto-phenethylamines.         According to Dr. DiBerardino, other

similarities include an alkyl group substitution at the alpha

position, and an alkyl group substitution on the nitrogen atom.

Dr. DiBerardino’s report states that the only feature

distinguishing the two substances is the substitution of

methylenedioxy in one location on MDPV.            Two-dimensional

representations of the substances are reportedly similar, and Dr.

DiBerardino’s evaluation of the three-dimensional structures does

not alter his conclusion as to substantial similarity.                According

to the government, there is no dispute that a-PVP and MDPV differ

by only three atoms.

     The government’s second expert, pharmacologist-toxicologist


     1
         The government’s experts are employed at the Drug Enforcement
Agency’s Office of Diversion Control, Drug & Chemical Evaluation
Section.

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Ambuja Bale, Ph.D., will testify about the drug’s neurological

effects.    Briefly stated, Dr. Bale concludes that a-PVP has a

stimulant effect on the nervous system that is similar to that of

MDVP.    Her conclusions are based primarily upon animal studies.

     Defendants’ experts contend that the two drugs have

significantly different chemical structures.            Dr. Nicolas Cozzi,

Ph.D.,2 states that while Dr. DiBerardino emphasizes a two-

dimensional similarity in the chemical structure, a three-

dimensional view evidences significant differences.              The Cozzi

Declaration, and that of defense expert Joseph Bono,3 also submit

that there is no scientific consensus about the term

“substantially similar.”

     Dr. Cozzi concludes that rather than being an analogue for

MDPV, a-PVP is more closely related to pyrovaleron, a Schedule V

controlled substance.        Dr. Cozzi also believes that because there

is no clinical human data comparing the effects of a-PVP and

MDPV, “it is not possible to directly answer whether a-PVP

produces a response in humans that more closely matches the

effects produced by MDPV or those produced by pyrovalerone.”               ECF

No. 77-1 at 5.     Anecdotal evidence, however, reportedly indicates


     2
        Dr. Cozzi is the Director of the Neuropharmacology Laboratory
at the University of Wisconsin School of Medicine and Public Health.
     3
        Mr. Bono is a forensic chemist, former Laboratory Director of
the United States Secret Service Laboratory in Washington D.C., and
former Director of the Drug Enforcement Agency Special Testing and
Research Laboratory.

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“that MDPV is at least 6-12 times more potent than either a-PVP

or pyrovalerone.”       Id. at 6 (emphasis in original).4

     C.      Fair Notice

     Fair notice, pursuant to the Fifth Amendment’s guarantee of

due process, requires a penal statute to “define the criminal

offense (1) with sufficient definiteness that ordinary people can

understand what conduct is prohibited and (2) in a manner that

does not encourage arbitrary and discriminatory enforcement.”

Kolender v. Lawson, 461 U.S. 352, 357 (1983); see also Skilling

v. United States, 561 U.S. 358, 402-03 (2010).               The first prong

of the Kolender test, requiring adequate notice, “is based on the

principle that no one ‘shall be held criminally responsible for

conduct which he could not reasonably understand to be

proscribed.’      United States v. Harriss, 347 U.S. 612, 617

(1954).”     Roberts, 363 F.3d at 122.       The second prong requires

“minimum guidelines” to prevent “a standardless sweep that allows

policemen, prosecutors, and juries to pursue their personal

predilections.”       Kolender, 461 U.S. at 358.

     The Second Circuit has twice considered as-applied,

Kolender-based challenges to the Analogue Act.               In United States

v. Roberts, 363 F.3d 118 (2d Cir. 2004), the government claimed

that 1,4-butanediol was an analogue to GHB, a schedule I


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        There is no dispute that, since the conduct alleged in this
case, a-PVP has been listed as a Schedule I controlled substance.

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controlled substance.      The district court dismissed the

indictment after a pre-trial hearing, concluding that the

Analogue Act was vague as applied and did not provide defendants

fair notice of potential prosecution.         The Second Circuit

reversed.

     The Roberts decision first concluded that because the

Analogue Act contains a scienter requirement, “the defendants’

vagueness challenge must be met with some measure of skepticism,

at least with regard to the ‘fair notice’ prong of Kolender.”

363 F.3d at 123 (citation omitted).         “That skepticism is further

buttressed by the government’s proffer that the defendants

actually believed what they were doing was illegal.”              Id.     A

similar proffer has been made here, as the government submits

that “trial evidence is expected to confirm that the defendants

understood they were dealing with illegal controlled substances,

thus undermining their claim to have been unconstitutionally

surprised by their prosecution.”         ECF No. 83 at 6.

     Roberts then “put[] aside these considerations” to determine

whether the phrase “substantially similar [in] chemical

structure” was unconstitutionally vague as applied to              1,4-

butanediol.   363 F.3d at 123.     With respect to clause (i) of

Section 802(32)(A), the government urged the court to find

substantial similarity in chemical structures based solely upon a

review of two-dimensional molecular diagrams, which revealed a


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two-atom difference.        The court declined to accept this

comparison as per se evidence of a similar chemical structure.

As the court explained, “[i]n another case, it might well be that

a one- or two-atom difference in a molecule made such a radical

difference in the substance’s relevant characteristics that any

similarity in the two-dimensional charts” would be insufficient

to satisfy the definition of an analogue.            Id.     The court then

considered that 1,4-butanediol metabolizes into GHB after

ingestion.   The court found the totality of these facts, i.e.

similar diagrams and metabolization, constitutionally sufficient.

Id.

      The Second Circuit subsequently addressed a similar set of

facts in United States v. Ansaldi, 372 F.3d 118 (2d Cir. 2004).

There, the government’s expert “offered uncontroverted testimony”

that the chemical structure of GBL, the alleged analogue,

“differed from that of GHB by only three atoms.”               Ansaldi, 372

F.3d at 124.    The expert also testified that GBL metabolizes into

GHB post-ingestion.         The court concluded that “[o]n these facts .

. . the decision in Roberts makes clear that Defendants had

sufficient warning that GBL was a controlled substance analogue

and that its distribution for human consumption was illegal.”

Id.

      In this case, there is arguable similarity in the two-

dimensional molecular diagrams for a-PVP and MDPV, and as in


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Ansaldi, a reported difference of “only three atoms.”

Furthermore, the evidence with respect to psycho-pharmacological

effects of the two substances suggests that, at least as

demonstrated in animal studies, those effects are similar.               There

is no suggestion by either party, however, that a-PVP metabolizes

into MDPV post-ingestion.

     Defendants argue that Roberts “requires” such metabolization

in order to show similarity.      ECF No. 77 at 9.        The government

counters that there is no such requirement, and that Roberts

merely declined to accept a comparison of two-dimensional

diagrams, standing alone, as the test for determining similarity

“in every situation.”      Roberts, 363 F.3d at 124.        Indeed, nowhere

in the Roberts decision does the Second Circuit explicitly

require both similarities in atomic structure and metabolization

as requirements for substantial similarity.

     In declining to accept a two-dimensional structural

similarity as the sole proof of an analogue, Roberts was

concerned about “another case” where, despite structural

similarities, the differences between two substances “might well”

result in different “relevant characteristics.”            Id.   Whether the

substances in this case contain such differences has not been

established.   At most, the relevant characteristics of the two

substances, together with the question of structural similarity,

are matters of dispute among the experts.         Those disputes may be


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resolved by a jury.          See, e.g., United States v. Klecker, 348

F.3d 69, 72 (4th Cir. 2003) (“Whether a particular substance

qualifies as a controlled substance analogue is a question of

fact.”); United States v. Long, 15 F. Supp. 3d 936, 942 (D.S.D.

2014) (“A disagreement regarding the degree of similarity between

a controlled substance and its alleged analog, as the experts [in

Long] have, is for the jury to decide.”).5

     Defendants next argue that the Analogue Act is

unconstitutionally vague because the term “substantially similar”

was not defined by Congress, and no definition exists in the

scientific community.         Courts have held, however, that “there is

no indication that Congress intended the words ‘substantially

similar’ to have a specialized or scientific meaning.”                 United

States v. Reece, 2013 WL 3865067, at *9 (W.D. La. July 24, 2013).

“Therefore, these words should be given their ordinary meanings.”

Id.; see also United States v. Turcotte, 405 F.3d 515, 531 (7th

Cir. 2005) (concluding that “the Analogue Provision seems to us

sufficiently clear by its own terms”); United States v. Brown,

279 F. Supp. 2d 1238, 1240–41 (S.D. Ala. 2003), aff'd 415 F.3d

1257 (11th Cir. 2005) (“Since the Analogue Act does not indicate

that the term ‘substantially similar’ is to be defined as it is



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        Ansaldi noted, in the context of the Analogue Act, that
“[j]uries are often required to determine not only whether certain
conduct occurred but also whether the conduct falls within the
definition of a statute.” 372 F.3d at 123 n.2.

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used scientifically, the court will interpret those words as they

are used in everyday language.”).

     Defendants also contend that the purpose of the Analogue Act

is to combat the production of new substances that mimic the

effects of Schedule I or II controlled substances, and that a-PVP

falls outside the focus of the Act because it has was patented in

1967.    When confronted with this argument regarding 1,4-

butanediol (the same analogue presented in Roberts), the Eighth

Circuit concluded that “Congress did not limit the Analogue

Statute’s application to newly designed drugs.              The language of

the statute shows that Congress intended to proscribe all drugs

that are similar in chemical structure and effect to illegal

drugs.”    United States v. Washam, 312 F.3d 926, 933 (8th Cir.

2002).    Moreover, Roberts concluded that “the wording of the Act

evinces a clear congressional intent not to limit its scope to .

. . designer drugs.”         363 F.3d at 126.

     Finally, defendants argue that the lack of an accepted

definition for substantial similarity presents the danger of

arbitrary enforcement, thereby violating due process.               Again,

courts have generally found that no such accepted definition is

required.     Furthermore, Roberts concluded that the meaning of

“‘controlled substance analogue’” was sufficient to meet the

second Kolender requirement that “a criminal offense be defined

‘in a manner that does not encourage arbitrary and discriminatory


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enforcement.’”    Id. (quoting Kolender, 461 U.S. at 357).

      For these reasons, defendants’ joint motion to dismiss the

indictment (ECF No. 77) is denied.

II.   Defendants’ Motion In Limine to Exclude Expert Testimony

      Defendants have also moved under Daubert to exclude

testimony from the government’s experts regarding substantial

similarity.   The admissibility of expert testimony in the federal

courts is governed by Federal Rule of Evidence 702, which

provides in pertinent part:

      If scientific, technical, or other specialized
      knowledge will assist the trier of fact to understand
      the evidence or to determine a fact in issue, a witness
      qualified as an expert by knowledge, skill, experience,
      training, or education, may testify thereto in the form
      of an opinion or otherwise, if (1) the testimony is
      based upon sufficient facts or data, (2) the testimony
      is the product of reliable principles and methods, and
      (3) the witness has applied the principles and methods
      reliably to the facts of the case.

Fed. R. Evid. 702.     Rule 702 embodies a liberal standard of

admissibility for expert opinions.        See Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579, 588-89 (1993).

      In Daubert, the Supreme Court set forth a series of factors

for determining whether expert testimony rests upon a

sufficiently reliable foundation:

      (1) whether a theory or technique “can be (and has
      been) tested”; (2) “whether the theory or technique has
      been subjected to peer review and publication”; (3) a
      technique’s “known or potential rate of error,” and the
      “existence and maintenance of standards controlling the
      technique’s operation”; and (4) whether a particular


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     technique or theory has gained “general acceptance” in
     the relevant scientific community.

Amorgianos v. Nat’l R.R. Passenger Corp., 303 F.3d 256, 265 (2d

Cir. 2002) (quoting Daubert, 509 U.S. at 593-94).            “[T]hese

factors do not constitute, however, a ‘definitive checklist or

test,’” as “‘[t]he inquiry envisioned by Rule 702 is . . . a

flexible one.’”    Id. (quoting Daubert, 509 U.S. at 593-94).

     Here, defendants argue that the absence of an accepted

definition of substantial similarity means that there is no

proven or peer-reviewed testing method.         Defendants also attack

the opinions of the government’s experts for lack of general

acceptance in the scientific community.         Third, defendants

criticize opinions based upon animal studies as “conjecture.”

ECF No. 78 at 6.    While the government counters that the

determination of substantial similarity does not require a

scientific definition, defendants claim this argument supports

their assertion that “there is no need for expert testimony on

this non-technical and non-scientific question.”            ECF No. 85 at

5.   Indeed, at oral argument defendants urged the Court to bar

expert conclusions as to substantial similarity, arguing that

such conclusions were strictly within the province of the jury.

     As discussed above, courts have generally held that

“substantially similar” does not require a scientific definition.

That said, the lack of a scientific meaning does not render

expert conclusions about substantial similarity either

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unnecessary or improper.     Rule 702 permits testimony from persons

with “specialized knowledge [that] will help the trier of fact to

understand the evidence.”     Fed. R. Evid. 702(a).        Daubert

similarly noted that expert testimony may be admitted to “assist

the trier of fact to understand the evidence or to determine a

fact in issue.”   509 U.S. at 589.      In this case, the parties have

presented experts to help the jury consider both similarities and

differences in two chemical structures, as well as the

reliability of data about pharmacological effects.            As there is

no challenge to the qualifications of these experts, the Court

finds that they have the “specialized knowledge” envisioned by

Rule 702, and that their presentations to the jury will aid in

determining critical questions of fact.

     “[E]xpert testimony is not helpful if it simply addresses

‘lay matters which the jury is capable of understanding and

deciding without the expert’s help.’”        In re Fosomax Prod. Liab.

Litig., 645 F. Supp. 2d 164, 173 (S.D.N.Y. 2009) (quoting United

States v. Lumpkin, 192 F.3d 280, 289 (2d Cir. 1999)).            Expert

testimony also may not “‘usurp either the role of the trial judge

in instructing the jury as to the applicable law or the role of

the jury in applying that law to the facts before it.’”              United

States v. Duncan, 42 F.3d 97, 101 (2d Cir. 1994) (quoting United

States v. Bilzerian, 926 F.2d 1285, 1294 (2d Cir. 1991)).                Here,

there can be little question that expert testimony will help the


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jury understand complex chemical structures.                 As suggested by the

Roberts decision, diagrams alone may not reveal the relevant

characteristics of a substance, and expert analysis will surely

educate the jury with regard to those characteristics.

Furthermore, expert conclusions as to substantial similarity will

not usurp the role of either the judge or the jury, as that term

is traditionally afforded a lay definition, and jurors will be

able to weigh the expert testimony and conclude whether a-PVP is,

in fact, an analogue.

     To the extent there is a lack of peer-reviewed materials and

a reliance upon animal studies, those issues go to weight rather

than admissibility.          United States v. Bays, 2014 WL 3764876, at

*9 (N.D. Tex. July 31, 2014) (citation omitted).                Moreover,

expert opinions from DEA scientists, as offered by the government

in this case, are “widely accepted by courts” in Analogue Act

cases.    Id. at *7 (N.D. Tex. July 31, 2014) (citing United States

v. Makkar, 2014 WL 1385298, at *3 (N.D. Okla. Apr. 9, 2014)

(noting that the “identification and comparison of chemical

substances are not novel scientific issues”)).                The Court

therefore declines to bar the government’s experts for lack of

either general acceptance or peer-reviewed methodologies.                     See,

e.g., United States v. Brown, 415 F.3d 1257, 1267 (11th Cir.

2002) (emphasizing flexible nature of the Daubert inquiry in

affirming the trial court’s admission of expert testimony


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regarding chemical structure).

     Finally, differences of opinion among experts do not render

those opinions unreliable.        See Washam, 312 F.3d at 932 (noting

that “experts need not agree for there to be a finding that a

chemical is an analogue”).        The government focuses upon a two-

dimensional model, while defendants prefer a three-dimensional

perspective.     As the district court found in Bays, “there is no

one avenue that an expert must take to determine whether two

chemical compounds are substantially similar.”              2014 WL 3764876,

at *7 (citing as examples Ansaldi, 372 F.3d at 123–24 and

Roberts, 363 F.3d at 124-27).         Bays also concluded that

“determining which approach is best is not this Court’s charge.”

Id. (citing Ruize–Troche v. Pepsi–Cola of P.R., 161 F.3d 77, 85

(1st Cir. 1998) (“Daubert neither requires nor empowers trial

courts to determine which of several competing scientific

theories has the best provenance.”)).

     The advisory committee note to Rule 702 asserts that

“rejection of expert testimony is the exception rather than the

rule.”    In this case, experts will be expressing their opinions

about the science of two chemical substances, and summarizing

those opinions by using a lay term: substantial similarity.                 Such

testimony is proper under the Federal Rules of Evidence, and

defendants’ motion in limine to exclude expert testimony is

denied.


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III. Conclusion

     For the reasons set forth above, defendants’ joint motion to

dismiss the indictment (ECF No. 77) and motion in limine to

exclude expert testimony (ECF No. 78) are denied.

     Dated at Burlington, this 9th day of January, 2015.

                                 /s/ William K. Sessions III
                                 William K. Sessions III
                                 District Court Judge




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